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BTXN 036 (rev. 10/19)
                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS


In Re:                                                       §
Krisu Hospitality, LLC                                       §    Case No.: 19−20347−rlj11
                                                             §    Chapter No.: 11
                                          Debtor(s)          §


                                           NOTICE OF DEFICIENCY
Notice is hereby given to the Debtor(s) that the Original Petition and/or Other Document(s) filed is/are deficient for
one or more of the following reasons:
      A mailing matrix containing an alphabetical listing of all creditors, was not filed with the petition as required by
      N.D. TX L.B.R. 1007−1(a). The mailing matrix must be filed within 48 hours of the date of this notice.
      Tax ID Number must be provided within 48 hours of the date of this notice.
      Debtor(s)' chapter 13 plan or plan summary was not filed with the petition. The plan or plan summary in a form
      acceptable to the Trustee must be filed within 14 days of the date of the filing of the petition (Bankruptcy Rule
      3015).
      Debtor(s)' chapter 13 plan or plan summary must be filed within 14 days from the date of the order of
      conversion (Bankruptcy Rule 3015).
      Debtor(s)' schedules A/B, D, E/F, G, H were not filed with the petition. The schedules must be filed within 14
      days of the date of the filing of the petition (Bankruptcy Rule 1007(c)).
      Declaration About an Individual Debtor's Schedules (Official Form 106Dec) within 14 days of the date of the
      filing of the petition.
      Declaration Under Penalty of Perjury for Non−Individual Debtors (Official Form 202) within 14 days of the
      date of the filing of the petition.
      Debtor(s)' statement of financial affairs was not filed with the petition. The statement of financial affairs must be
      filed within 14 days of the date of filing of the petition (Bankruptcy Rule 1007(c)).
      Attorney Fee Disclosure must be filed within 14 days of the date of the filing of the petition.
      Adversary Cover Sheet (Form 1040) not filed with the complaint. Form 1040 must be filed with the court within
      2 days from the date of this notice.
      Summary of Assets and Liabilities (Official Form 106Sum or 206Sum) not provided at the time of filing.
      Official Form 106Sum or 206Sum must be filed within 14 days of the date of the filing of the petition.
      Portions of the original petition were not answered or provided at the time of filing. An amended petition
      including the items indicated below must be filed within 3 days from the issuance of this notice.
      Twenty Largest Unsecured Creditors must be filed within 48 hours from the date of this notice.
      This case was filed without docketing a Form 121 Statement of Social Security Number. Form 121 must be filed
      with the court within 48 hours of the date of the petition pursuant to L.B.R. 1007−1(d). If a debtor Social
      Security Number was erroneously entered by you in this case, you must notify all parties and credit reporting
      agencies of the correct Social Security Number information.
      Certificate from an approved credit counselor of completion of a briefing received prior to the filing of the
      petition must be provided within ### days of the date of the filing of the petition. If the briefing was not
      completed prior to the petition date, the debtor must submit to the court a certification that complies with the
      requirements of 11 USC 109(h)(3)(A).
      Copies of employee income records must be provided within 14 days of the date of the filing of the petition.
      Statement of Current Monthly Income must be provided within 14 days of the date of the filing of the petition.
      Chapter 15 Service List must be provided within 14 days of the date of the filing of the petition.
                                                       − continued −
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                                                      page 2


    Cash flow statement must be provided within 7 days from the issuance of this notice.
    Statement of operations must be provided within 7 days from the issuance of this notice.
    Balance sheet must be provided within 7 days from the issuance of this notice.
    Other:
Failure to comply with the N.D. TX L.B.R.'s and 11 U.S.C. § 521 to cure any or all of the deficiencies noted
above shall subject this petition to dismissal without further notice.
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                                               United States Bankruptcy Court
                                                Northern District of Texas
In re:                                                                                                     Case No. 19-20347-rlj
Krisu Hospitality, LLC                                                                                     Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0539-2                  User: mhurtado                     Page 1 of 1                          Date Rcvd: Nov 05, 2019
                                      Form ID: BTXN036                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 07, 2019.
db             +Krisu Hospitality, LLC,   500 W. Harvester,   Pampa, TX 79065-4346

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 07, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 5, 2019 at the address(es) listed below:
              Patrick Alan Swindell   on behalf of Debtor   Krisu Hospitality, LLC
               pat@swindellandassociates.com,
               sshields@swindellandassociates.com;pat@swindellandassociates.com;swindellign@gmail.com;samantha@s
               windellandassociates.com;chelsea@swindellandassociates.com
              United States Trustee   ustpregion06.da.ecf@usdoj.gov
                                                                                            TOTAL: 2
